 Case 8:21-cv-02502-CEH-JSS Document 6 Filed 12/02/21 Page 1 of 2 PageID 27


                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION

HAKEEM HAYES,

      Plaintiff,

v.                                                     Case No: 8:21-cv-2502-CEH-JSS

QUALIFIED PROPERTY
MANAGEMENT OF SOUTH
BOULEVARD TOWNHOUSE
CONDOS, INC.,

      Defendant.
                                         /

                                       ORDER

      This cause comes before the Court upon the Report and Recommendation filed

by Magistrate Judge Julie S. Sneed on November 15, 2021 (Doc. 5). In the Report

and Recommendation, Magistrate Judge Sneed recommends that: (1) Plaintiff’s

Motion for Leave to Proceed in Forma Pauperis (Dkt. 2) be denied without prejudice;

(2) Plaintiff’s Complaint (Dkt. 1) be dismissed without prejudice and with leave to file

an amended complaint that complies with the Federal Rules of Civil Procedure and

sets forth sufficient facts to establish Plaintiff’s standing. The Magistrate Judge further

recommends that the second amended complaint, if any, be due within twenty (20)

days of the date the Report and Recommendation becomes final.

       Plaintiff was provided a copy of the Report and Recommendation and afforded

the opportunity to file objections pursuant to 28 U.S.C. § 636(b)(1).            No such

objections were filed.
 Case 8:21-cv-02502-CEH-JSS Document 6 Filed 12/02/21 Page 2 of 2 PageID 28


      Upon consideration of the Report and Recommendation, and upon this Court's

independent examination of the file, it is determined that the Report and

Recommendation should be adopted. Accordingly, it is now

      ORDERED AND ADJUDGED:

      (1)   The Report and Recommendation of the Magistrate Judge (Doc. 5) is

            adopted, confirmed, and approved in all respects and is made a part of

            this Order for all purposes, including appellate review.

      (2)   Plaintiff’s Motion for Leave to Proceed in Forma Pauperis (Doc. 2) is

            DENIED without prejudice.

      (3)   Plaintiff’s Complaint (Doc. 1) is DISMISSED without prejudice.

            Plaintiff is granted leave to file an amended complaint within twenty (20)

            days from the date of this Order that complies with the Federal Rules of

            Civil Procedure and sets forth sufficient facts to establish Plaintiff’s

            standing.

      (4)   Failure to file an amended complaint within the time provided will result

            in dismissal of this action without further notice.

      DONE AND ORDERED at Tampa, Florida on December 2, 2021.




Copies to:
The Honorable Julie S. Sneed
Counsel of Record




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